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                              UNITED STATES DISTRICT COURT

                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                   CRIMINAL NO.: 19-CR-10081-IT-MPK
v.

JOVAN VAVIC, et al.,

                       Defendants.



            JOVAN VAVIC’S MOTION FOR JOINDER IN HEINEL’S MOTION TO
                   DISMISS FOR VINDICTIVE PROSECUTION

       Jovan Vavic respectfully seeks leave to join Defendant Donna Heinel’s Motion to

Dismiss and Memorandum in Support of Motion to Dismiss for Vindictive Prosecution (Dkts.

758-759)—a position underscored by the government’s August 31, 2021 dismissal of its lead

racketeering charge (see Dkt. 784).

       Heinel’s motion asserts that, “[w]hen the prosecution has occasion to reindict the accused

because the accused has exercised some procedural right, the prosecution bears a heavy burden

of proving that any increase in the severity of the alleged charges was not motivated by a

vindictive motive.” (Dkt. 764 at 6) (citing United States v. Ruesga-Martinez, 534 F.2d 1367,

1369 (9th Cir. 1976)). “Even the mere appearance of prosecutorial vindictiveness can serve to

dissuade defendants from exercising their statutory rights and constitute a violation of due

process.” (Id.) (Lovett v. Butterworth, 610 F.2d 1002, 1007 (1st Cir. 1979)). Here, Heinel

argues, she “was subjected to discriminatory charging treatment because she chose to assert her

rights rather than forgo them,” including by filing motions to dismiss the charges. (Id. at 12).

“This disparate treatment sufficiently demonstrates a likelihood of vindictiveness to warrant a
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presumption of vindictiveness such that the prosecution now bears the burden of rebutting that

presumption.” (Id.). Indeed, “[a]s this Court recognized, the government has now sought and

obtained two superseding indictments based on the same evidence as the original Indictment for

the purpose of increasing sentencing exposure and countering the District Court’s [sentencing]

discretion[.]” (Id.).

        These arguments apply with full force to Coach Vavic. Each time Coach Vavic exercised

his procedural right to file a motion to dismiss the charges in this case (see Dkts. 264, 333), the

government added charges to increase the maximum prison term he faced—most recently, by the

addition of the federal programs bribery conspiracy charge (Count III) in the Second

Superseding Indictment (SSI) (see Dkt. 505), and previously, by the addition of the conspiracy

and wire fraud charges (Counts II and XVI) in the Superseding Indictment (SI) (see Dkt.

272). (See also Dkt. 759 at 2 (noting that the SI added counts of conspiracy and substantive

fraud, Counts II and XVI as to Vavic, based on the same allegations underlying the racketeering

charge); id. at 3 n.2 (noting that Count III was added as to Vavic in the SSI)). And each time, the

addition of these charges against Coach Vavic—the federal programs bribery conspiracy charge,

in the SSI, and the conspiracy and wire fraud charges, in the SI—lacked any basis in new or

different evidence. Accordingly, as Heinel’s motion argues, these additional charges in the

operative SSI—as to Coach Vavic, Counts II, III, and XVI—must be dismissed. (See Dkt. 764 at

6, 9-10) (citing United States v. Motley, 655 F. 2d 186, 190 (9th Cir. 1981) (dismissing new drug

charges added after mistrial on RICO and conspiracy counts because defendant had “succeeded

in establishing an appearance of vindictiveness because of the more severe indictment” and the

government failed to justify the increase in severity of the charges)).

        In this context, it bears emphasis that the government’s eleventh-hour dismissal of its




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lead racketeering charge against Defendants—a charge that has been pending for 2 ½ years—just

2 ½ months before trial highlights the government’s charging gamesmanship from the outset of

the case. This incendiary charge has always lacked any plausible basis in fact. It is a striking

example of prosecutorial overreach—and a transparent “strong-arm” tactic aimed at forcing

defendants into submission. Although the government has now conceded, on the eve of trial,

that it cannot prove its highest-profile allegation, that does not erase the damage done to Coach

Vavic, whose career and reputation have been ruined as a result of the government’s groundless

allegations.

       For all of these reasons, undersigned counsel therefore wishes to advance the same

arguments on Coach Vavic’s behalf and requests permission to join in Heinel’s motion. No

prejudice to the government would arise from the allowance of this motion.




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Dated: September 16, 2021                            Respectfully submitted,


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                                                     Attorneys for Defendant JOVAN VAVIC

                                  RULE 7.1 CERTIFICATION

       Undersigned counsel certifies that he conferred with the government. The government

objects to the motion under Fed. R. Crim. P. 12(c)(3).

                                      /s/ Stephen G. Larson
                                      Stephen G. Larson

                                 CERTIFICATE OF SERVICE

       I, Stephen G. Larson, hereby certify that this document filed through the CM/ECF system

will be sent electronically to the registered participants as identified on the NEF, and paper

copies will be sent to those indicated as non-registered participants on September 16, 2021.

                                      /s/ Stephen G. Larson
                                      Stephen G. Larson



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